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            UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS
                  EASTERN DIVISION


 Faculty, Alumni, and Students
 Opposed to Racial Preferences
 (FASORP),
                                                   Case No. 1:24-cv-05558
                       Plaintiff,
                                                   Judge Sara L. Ellis
 v.

 Northwestern University, et al.,

                       Defendants.


                           NOTICE OF DISMISSAL
      Plaintiff Faculty, Alumni, and Students Opposed to Racial Preferences (FASORP)
dismisses its action without prejudice under Rule 41(a)(1)(A)(i). Each party will bear
its own attorneys’ fees, costs, and expenses.

                                                Respectfully submitted.

                                                 /s/ Jonathan F. Mitchell
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 Dated: January 10, 2025                        Counsel for Plaintiff



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                      CERTIFICATE OF SERVICE
    I certify that on January 31, 2025, I served this document through CM/ECF
upon:

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